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lN THE UNITED STATES DISTRICT COURT
lN THE MIDDLE DISTRICT OF FLORIDA
TAMPA DlVlS[ON
MARY TROTTER-CAMPBELL,
Plaintif`l°`,
_VS_
CORINTHIAN COLLEGES, INC.
d/b/a EVEREST UNlVERSlTY and CASE NO.: 8114-CV-2235
PERFORMANT RECOVERY, INC.,

Defendants.
/

NOTICE OF PENDING SETTLEMENT

PLEASE TAKE NOTlCE that the parties have reached an agreement for settlement, and are in

the process of t`lnalizing the settlement agreement
CERTIFICA'I`E OF SERVICE

l HEREBY CERTIFY that on ¢Q_Q January, 2015, I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to the
following CM/ECF participants: Yaniv Adar, Homer Bonner Jacobs, 1200 Four Seasons Tower 1441
Brickell Avenue, Miami, FL 33131; Ernest '“Skip” H. Kohlmyer, lll, Esq., Urban, Thier, Federer and

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